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                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                 Criminal No. 09-cr-97-05-JL

Richard B. Mancini

                                O R D E R

     Defendant appeared for a bail revocation hearing pursuant to

18 U.S.C. § 3148.    Defendant drank to excess, associated with

Monteiro despite probation’s order, and then while with Monteiro

delivered a blind side punch to the victim while yelling “I’ll

give you a reason to call the cops.”        He has a history of

assaultive behavior.     I find that the defendant is unlikely to

abide by any condition or combination of conditions.             The

conditions of release are revoked.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.    The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                 On
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order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.

                                    ___________________________________
                                    James R. Muirhead
                                    United States Magistrate Judge

Date: July 22, 2009

cc:    Jessica C. Brown, Esq.
       Jennifer C. Davis, Esq.
       U.S. Marshal
       U.S. Probation




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